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                                        APPENDIX A

                         Subdivision Name                          State   Docket Number
People of the State of California, acting by and through Santa
                                                                    CA     1:22‐op‐45030
Clara County Counsel James R. Williams
The People of the State of California, acting by and through the
                                                                    CA     1:20‐op‐45189
City of Chico
The People of the State of California, acting by and through the
                                                                    CA     1:20‐op‐45251
City of Clearlake
People of the State of California                                   CA     1:19‐op‐45128
People of the State of California, acting by and through Interim
                                                                    CA     1:18‐op‐46092
Eureka City Attorney, Robert Norris Black
People of Christian County                                          IL     1:17‐op‐45078

People of the State of Illinois                                     IL     1:17‐op‐45078

People of Franklin County                                           IL     1:20‐op‐45194

People of the State of Illinois                                     IL     1:20‐op‐45194

The People of Sangamon County                                       IL     1:20‐op‐45154

The People of the State of Illinois                                 IL     1:20‐op‐45154

People of Johnson County                                            IL     1:18‐op‐46148

People of the State of Illinois                                     IL     1:18‐op‐46148

People of Schuyler County                                           IL     1:18‐op‐46147

People of the State of Illinois                                     IL     1:18‐op‐46147

People of the State of Illinois                                     IL     1:19‐op‐45286

People of Union County                                              IL     1:19‐op‐45286

Red River Parish                                                    LA     1:18‐op‐46222
Board of Supervisors of Louisiana State University and
                                                                    LA     1:20‐op‐45157
Agricultural and Mechanical College
University System of Louisiana                                      LA     1:19‐op‐45627
